                         UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA
                             GREENSBORO DIVISION



 NUVASIVE, INC.,                      )
            Plaintiff,                )
                                      )
 v.                                   )
                                      )
 KENNETH KORMANIS,                    )                   Case No. 1:18-cv-00282
                                      )
             Defendant and Crossclaim )
             Plaintiff.               )
                                      )
 __________________________________   )
                                      )
 KENNETH KORMANIS,                    )
                                      )
             Crossclaim Plaintiff,    )
                                      )
 v.                                   )
                                      )
 JARRETT CLAY,                        )
                                      )
             Individually and as      )
             Member-Manager of        )
             InoSpine, LLC, and       )
                                      )
                                      )
 INOSPINE, LLC,                       )
                                      )
             Crossclaim Defendants.   )
 ____________________________________ )

     INOSPINE, LLC AND JARRETT CLAY’S MOTION AND MEMORANDUM
  TO STRIKE AND/OR TO DISMISS DEFENDANT KORMANIS’ “CROSSCLAIMS”
       AND, ALTERNATIVELY, FOR ENTRY OF PROTECTIVE MEASURES
             _____________________________________________________________

       Crossclaim Defendants Jarrett Clay (“Clay”) and InoSpine, LLC (“InoSpine”) respectfully

move this Court pursuant to Rules 14(a)(4) and 12(b)(6) of the Federal Rules of Civil Procedure




     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 1 of 13
to strike or dismiss the crossclaims against InoSpine and Clay contained in Defendant Kenneth

Kormanis’ (“Kormanis”) Answer to Amended Complaint and Crossclaims. (Doc. 83, pp. 11-26).

       Alternatively, InoSpine and Clay move, pursuant to Rules 14(a)(4), 20(b) and 42(b) of the

Federal Rules of Civil Procedure, for separate trials and separate discovery and case management

plans, to avoid prejudice as a result of their having been brought back into this case with just over

a month remaining before the currently scheduled trial date.

       In support of this Motion, InoSpine and Clay state as follows.

                                        INTRODUCTION

       Approximately ten months after the commencement of this action and nearly five months

after stipulating to the dismissal of his claims against InoSpine, Defendant Kormanis now seeks to

rejoin InoSpine (and Clay, its sole member) through the filing of improper and untimely

“crossclaims.” Kormanis cites inapplicable rules for joining non-parties and has failed to obtain

leave of Court to do so at this late stage of the proceedings. Moreover, Kormanis is doing so after

he had requested—and the parties agreed—to dismiss InoSpine from the case in September 2018.

That agreement including dismissing InoSpine, dismissing all claims between InoSpine and

Kormanis, and staying pending state court proceedings between Kormanis and InoSpine until the

conclusion of this action.

       Kormanis’ attempt to join InoSpine and Clay as “crossclaim” defendants is not only legally

unsupported and in violation of the parties’ agreement, but also such joinder would be prejudicial

to InoSpine and Clay, as well as NuVasive, unless protective measures were ordered. Such

prejudice could only be avoided if the Court were to maintain the current deadlines applicable to

NuVasive and Kormanis, and order a separate discovery and case management schedule, including

a separate trial, for the decidedly separate issues raised in Kormanis’ crossclaims.



                                                 2



     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 2 of 13
                               PROCEDURAL BACKGROUND

       On April 11, 2018, Plaintiff NuVasive, Inc. (“NuVasive”) filed the initial Complaint

against Defendants Michael Jones (“Jones”) and Kormanis. (Doc. 1). On May 23, 2018, InoSpine

and Clay were sued by Jones as additional counterclaim defendants. (Doc. 19)

       On July 13, 2018, Kormanis included purported crossclaims against InoSpine in his

Answer to NuVasive. (Doc. 39). On July 27, 2018, Kormanis filed an Amended Answer to the

Complaint that reasserted his crossclaims against InoSpine and brought counterclaims against

NuVasive for declaratory judgment (Doc. 43).1 InoSpine then asserted counterclaims against

Kormanis on August 10, 2018. (Doc. 47).

       On September 7, 2018, a stipulation of dismissal was entered into whereby the

counterclaims of Jones against InoSpine and Clay were dismissed. (Doc. 59). There being no other

claims pending against Clay, he was dismissed from this action.

       By a joint stipulation dated September 14, 2018, Kormanis and InoSpine agreed to dismiss

all claims between them in this case, (Doc. 62), and then obtained a consent order shortly thereafter

in the Superior Court of Mecklenburg County, North Carolina, in which they agreed to stay all

claims in state court “pending conclusion of [this federal case] involving substantially the same

parties and claims . . . including any appeals related thereto.” See Stay Order Ex. 1. The stay order

further provided that it “shall be lifted” only “upon notification by the Parties that [this federal

case] has concluded” or “to the extent [this Court] sua sponte does not retain jurisdiction over the

entirety of the Federal Action.” Id.




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     Kormanis later abandoned his counterclaims against NuVasive when he answered the
Amended Complaint on December 4, 2018. (Doc. 83).

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     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 3 of 13
       On November 6, 2018, NuVasive sought leave of the Court to amend its Complaint, which

was granted, (Doc. 77), and NuVasive filed an Amended Complaint against Kormanis on

November 20, 2018. (Doc. 82). NuVasive’s Amended Complaint raises issues limited to

Kormanis’ actions (e.g., his breach of non-competition obligation, tortious interference, etc.) after

he resigned his employment with InoSpine.

       On December 4, 2018, ten months after the commencement of this action, Kormanis filed

an Answer to the Amended Complaint that asserted “crossclaims” against InoSpine and Clay—

then non-parties—concerning InoSpine and Clay’s alleged failure to pay his commissions, wages,

and business expenses—alleged acts occurring during Kormanis’ employment with InoSpine and

unrelated to the amendments set forth in the Amended Complaint. (Doc. 83). As noted, Kormanis’

Answer abandoned it counterclaims against NuVasive. Id.

       NuVasive moved to strike Kormanis’ crossclaims on January 4, 2019 (Doc. 87). Kormanis

filed a “reply” in opposition to the motion to strike on January 22, 2019, (Doc. 92), and NuVasive

filed its reply in support of its motion to strike on February 5, 2019 (Doc. 101).2

                                          ARGUMENT

       The Court’s consideration of the validity of Kormanis’ crossclaims is governed by Federal

Rule of Civil Procedure 13. Rule 13 allows crossclaims to be brought by a party against a either a

co-party or any person who is required or permitted to be added to the action pursuant to Rules 19

or 20. See Fed. R. Civ. P. 13(g) & (h).




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      InoSpine and Clay do not seek to reargue the points raised by NuVasive in support of its
motion to strike, which they adopt, but rather provide further support and perspective on why
Kormanis’ untimely and improper crossclaims should be stricken.


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     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 4 of 13
       Kormanis’ claims against InoSpine and Claim do not qualify under Rule 13, or any other

applicable rule. To overcome this, Kormanis provides a biased account of the facts and record in

an effort to thwart the protections against the indiscriminate joining of parties. As shown by

NuVasive and further demonstrated below, InoSpine and Clay are not and should not be joined as

parties to the action. The crossclaims do not arise from any of the amendments asserted in the

Amended Complaint and, if allowed to go forward, would result in prejudice to the parties.

I.     Kormanis Improperly Brings Crossclaims Against Non-Parties.

       Rule 13(g) of the Federal Rules of Civil Procedure states:

        “A pleading may state as a crossclaim any claim by one party against a coparty if
       the claim arises out of the transaction or occurrence that is the subject matter of the
       original action or of a counterclaim, or if the claim relates to any property that is
       the subject matter of the original action. The crossclaim may include a claim that
       the coparty is or may be liable to the cross-claimant for all or part of a claim asserted
       in the action against the cross-claimant.”

Fed. R. Civ. P. 13(g).

       Because there is no provision in Rule 13(g) for asserting crossclaims against a non-party,

“a counterclaim or cross-claim may not be directed solely against persons who are not already

parties to the original action, but must involve at least one existing party.” 6 Wright & Miller,

Federal Practice and Procedure § 1435, at *271 (3d ed.2004).

       Fergus v. Faith Home Healthcare, Inc. is instructive. There, defendant Faith Home

Healthcare, Inc., sought to bring a crossclaim, pursuant to Rule 13(g), against a non-party, Patricia

Clayborn. The Court found that, “Rule 13(g) is inapplicable here. Ms. Clayborn is not a party to

this action, and thus Defendant may not file a crossclaim against her.” Fergus v. Faith Home

Healthcare, Inc., 218CV02330JWLTJJ, 2018 WL 6727063, at *4 (D. Kan. Dec. 21, 2018).




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     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 5 of 13
       In an apparent to effort to circumvent these requirements, Kormanis argues that this case

is like Stonecrest Partner3 by asserting that “Kormanis has already asserted counterclaims against

NuVasive in this action, thus fulfilling the requirement that Kormanis has already asserted such

claims against an existing party to these proceedings. See Doc. 39.” While that was true initially

(see Doc. 43), Kormanis fails to note that he abandoned the counterclaims against NuVasive when

he answered the Amended Complaint, (Doc. 83), and he thus has no counterclaims against

NuVasive.

       Kormanis’ crossclaims are directed solely against InoSpine and Clay, who, following the

dismissals entered into by both Jones and Kormanis on September 7 and 14, 2018, respectively,

were dismissed from the case and no longer parties to this action. Therefore, Rule 13(g) is

inapplicable whichever interpretation of Rule 13 the Court adopts.

II.    InoSpine And Clay Cannot Be Properly Joined Under Rule 13(h).

       Kormanis’ claims against InoSpine and Clay are not authorized under Rule 13(h) either.

Rule 13(h) requires that parties to an action be joined only pursuant to Rule 19 or Rule 20 as either

required or permitted parties, respectively. Fed. R. Civ. P. 13(h). Neither of these rules applies.

       To determine whether InoSpine and Clay are required parties under Rule 19 the court

considers (1) whether complete relief can be accorded among the existing parties in its absence,

(2) whether non joinder of InoSpine may impede InoSpine from protecting its own interests and

(3) whether failure to join InoSpine will leave an existing party subject at substantial risk of



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       While the Fourth Circuit has not addressed the issue, Stonecrest Partners, LLC v. Bank of
Hampton Roads, 7:10-CV-63-FL, 2011 WL 3664412, at *3 (E.D.N.C. Aug. 18, 2011) adopts a
more liberal interpretation of Rule 13(h), one that “imposes as a necessary prerequisite that the
defendant first assert a claim against another cross-claim defendant before joining cross-claimants
who are not parties to the action.”) (internal quotations omitted).



                                                 6



      Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 6 of 13
multiple or inconsistent obligations. See Key Constructors, Inc. v. Harnett County, 315 F. R. D.

179, 185 (E.D.N.C. 2016); Fed. R. Civ. P. 19.

        None of these considerations favor Kormanis. In his “reply” brief to NuVasive’s motion to

strike, Kormanis’ principal arguments are that this Court cannot afford complete relief in the

absence of InoSpine and Clay and that there is a “potential for inconsistent judgments between

federal and state courts” if Kormanis were required to litigate his claims against InoSpine and Clay

in state court. (Doc. 92, p 5). Because Kormanis’ crossclaims against InoSpine and Clay are

indisputably unrelated to all of NuVasive’s claims against Kormanis and thus could not result in

inconsistent judgments, his theory rests on an assumption that InoSpine would assert counterclaims

against Kormanis in state court similar to NuVasive’s claims here. (Doc. 92 p 4). While that may

be true, that fact does not support Kormanis’ arguments. First, any counterclaim by InoSpine in

state court would have no bearing on this Court’s ability to afford NuVasive complete relief on

NuVasive’s claims against Kormanis. Also, the doctrine of collateral estoppel would prevent

Kormanis from litigating the same issues in state court. See Collins v. Pond Creek Mining Co., 468

F.3d 213, 217 (4th Cir. 2006) (discussing five elements needed to establish collateral estoppel that

are easily satisfied when applied to this case).

        In fact, by his agreement to dismiss InoSpine from this case back in September 2018,

Kormanis has acknowledged that InoSpine is not a required party under Rule 19 and should be

estopped from taking a contrary position now.

        Rule 20 is equally inapplicable for a number of reasons. Rule 20(a)(2) states that a person

may be joined as a defendant in one action if “(A) any right to relief is asserted against them jointly,

severally, or in the alternative with respect to or arising out of the same transaction, occurrence, or




                                                   7



     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 7 of 13
series of transactions or occurrences; and (B) any question of law or fact common to all defendants

will arise in the action.” Fed. R. Civ. P. 20(a)(2).

        Kormanis has failed to identify any right to relief that could be jointly and severally

asserted against Kormanis, InoSpine and/or Clay. NuVasive has asserted no claims against

Kormanis for which InoSpine or Clay could be remotely responsible. The pre-termination wage

and hour issues asserted by Kormanis in his crossclaims against InoSpine and Clay are totally

unrelated to the circumstances surrounding Kormanis’ breach of his post-employment obligations

and there is thus no common question of law or fact that could apply between the two sets of

disparate claims.

III.    The Court Should Order Protective Measures if Joinder is Permitted

        If the Court were to allow Kormanis’ crossclaims to proceed, then it should do so only after

ensuring that certain protective measures are in place to avoid prejudice to the parties.

        Under Federal Rule of Civil Procedure 20(h), this Court “may issue orders—including an

order for separate trials—to protect a party against embarrassment, delay, expense, or other

prejudice that arises from including a person against whom the party asserts no claim and who

asserts no claim against the party.” Fed. R. Civ. P. 20(h); see also Rule 14(a)(4) (“Any party may

move to strike the third-party claim, to sever it, or to try it separately”); and Rule 42(b) (“For

convenience, to avoid prejudice, or to expedite and economize, the court may order a separate trial

of one or more separate issues, claims, crossclaims, counterclaims, or third-party claims.”).

        Such measures would include a brief period of time following such an order to allow

InoSpine and Clay to respond to the crossclaims on the merits. In addition, given that this case is

set for trial in early April 2019 (and nearly all of the discovery and pre-trial deadlines have passed




                                                   8



       Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 8 of 13
in the absence of InoSpine and Clay’s participation), InoSpine and Clay would request separate

trials and a separate discovery and case management plan to begin after the April trial date.

       Considerations and principles of fairness require nothing less. Kormanis is seeking to join

InoSpine and Clay late in these proceedings due to circumstances of Kormanis’ own making and

beyond the control of InoSpine and Clay. Kormanis previously—and at his own request—

dismissed InoSpine from the action with an agreement to stay further state court proceedings until

the disposition of this action. Implicit within that agreement was the understanding that Kormanis

would not sidestep that stay by rejoining InoSpine and Clay, particularly when it would be

prejudicial to do so. Joining InoSpine and Clay in this case after discovery cut-off, after many of

the pretrial deadlines have passed, and just weeks before the trial is scheduled to begin will cause

extraordinary delay, expense, and prejudice not only to InoSpine but also to the other parties. As

such, if joinder is permitted, the Court should order separate trials, a new discovery and case

management plan, separate judgments, and so on. Furthermore, to avoid prejudice to the existing

parties, it should not result in the postponement of the current trial date or other extant deadlines.

                                          CONCLUSION

       In conclusion, the Court should strike and or dismiss Defendant Kormanis’ untimely and

improper “crossclaims.” If, however, the claims are permitted, the Court should order protective

measures to ensure that the current trial schedule and pretrial deadlines are not impacted and that

the claims between Kormanis, InoSpine, and Clay proceed toward separate trials and in an orderly

manner, and for such other and further relief as the Court deems just and proper.




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     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 9 of 13
  This the 25th day of February, 2019.

                                Respectfully submitted,

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                                         10



Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 10 of 13
                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 25, 2019, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt.   The party or parties served are as follows:


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                                                  11



     Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 11 of 13
                                                  Ex. 1




Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 12 of 13
Case 1:18-cv-00282-CCE-LPA Document 129 Filed 02/25/19 Page 13 of 13
